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February 5, 2024

VIA CM/ECF

Michael E. Gans
Clerk of Court
United States Court of Appeals for the Eighth Circuit
Thomas F. Eagleton Courthouse
111 South 10th Street
St. Louis, Missouri 63102

Re: Notice Regarding Availability for Oral Argument in Union Elec. Co. v. EPA, No. 23-
    1751, and Ark. League of Good Neighbors v. EPA, No. 23-1778

Dear Mr. Gans:

I am counsel of record for Petitioners Union Electric Company dba Ameren Missouri and
Arkansas League of Good Neighbors in the above-referenced cases and write to advise the
Court of existing obligations that would conflict with oral argument on April 8-10 and May 8-
10. I respectfully request that the Court not schedule argument on those dates.

Respectfully submitted,

/s/ Elbert Lin
Elbert Lin




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February 5, 2024
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                                 CERTIFICATE OF SERVICE

I hereby certify that on February 5, 2024, I electronically filed the foregoing letter using the
court’s CM/ECF system, which will send notification of such filing to all counsel of record.

                                       /s/ Elbert Lin
                                       ELBERT LIN

                                       Counsel of Record for Petitioners
                                       Arkansas League of Good Neighbors
                                       and Union Electric Company dba Ameren Missouri




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